       Case 4:22-cv-01587-JSW Document 28-1 Filed 09/13/22 Page 1 of 2




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11                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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      SELINA KEENE, MELODY FOUNTILA, MARK ) Case No.: 4:22-cv-01587-JSW
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      MCCLURE,                                          )
14                                                      ) [PROPOSED] ORDER RE:
             Plaintiffs,                                ) EX PARTE APPLICATION TO
15                                                      ) SHORTEN TIME OF NOTICE
     v.                                                 ) FOR MOTION TO ENTER AN
16                                                      ) ORDER ON PLAINTIFFS’ MOTION
17   CITY AND COUNTY OF SAN FRANCISCO;                  ) FOR PRELIMINARY INJUNCTION
     LONDON BREED, Mayor of San Francisco in her )
18   official capacity; CAROL ISEN Human Resources )
     Director, City and County of San Francisco, in her )
19   official capacity; DOES 1-100,                     ) Date: September 23, 2022
                                                        ) Time: 9:00 AM
20                                                        Judge: Hon. Jeffrey S. White
           Defendants.                                  ) Courtroom: 5
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                         [PROPOSED] ORDER RE: EX PARTE APPLICATION TO SHORTEN TIME
       Case 4:22-cv-01587-JSW Document 28-1 Filed 09/13/22 Page 2 of 2




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            For good cause shown, Plaintiffs’ ex parte application to shorten time is
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     granted.
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 4          The hearing on Plaintiffs’ motion to enter an order on Plaintiffs’ motion for
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     preliminary injunction is set for September 30, 2022, at 9:00 a.m. in Courtroom 5.
 6
 7          Dated:

 8                                          ______________________________
 9                                          Hon. Jeffrey S. White
                                            Senior District Judge
10                                          Northern District of California
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                        [PROPOSED] ORDER RE: EX PARTE APPLICATION TO SHORTEN TIME

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